         CASE 0:10-cr-00187-MJD-FLN Doc. 247 Filed 05/28/13 Page 1 of 2

                      UNITED STATES DISTRICT COURT
                                            District of Minnesota
                                         NOTICE OF APPEAL
                                                                            USCA 8 NO
United States of America
                               Plaintiff,                                   10-cr-187
vs                                                                          District Court Docket Number
Amina Farah Ali
                               Defendant.                                   Michael J. Davis
                                                                            District Court Judge
 Notice is given that          Amina Farah Ali          appeals to the United States Court of Appeals
for the Eighth Circuit from the Judgment & Commitment
 Order: 5-16-2013 Conviction and Sentences
entered in this action on 5-16-2013
s/ Daniel M. Scott                                      Daniel M. Scott
Signature of Defendant’s Counsel                        Typed name of Defendant’s Counsel
431 S. Seventh St., Suite 2530                          (612) 371-9090
Street Address/Room Number                              Telephone Number
Minneapolis                    MN             55415     5-28-2013
City                         State             Zip      Date

                                         TRANSCRIPT ORDER FORM
                             TO BE COMPLETED BY ATTORNEY FOR APPELLANT
 Please Prepare a transcript of:                          I am not ordering a transcript because
               Pre-trial proceedings                           Previously filed
               Testimony or                                    Other (Specify)
               Portions thereof

               Sentencing

               Post Trial Proceedings

               Other (Specify)          Hawo Hassan
                                         Sentencing
                                         5-16-2013

                                     CERTIFICATE OF COMPLIANCE
 Appellant hereby certifies that copies of this notice of appeal/transcript order form have been filed/served upon
US District Court, court reporter and all counsel of record, and that satisfactory arrangements for payment of costs
 of transcripts ordered have been made with the court reporter. (FRAP 10(b)). Method of payment _____Funds,
                                         ____x__ CJA Form 24 completed
s/ Daniel M. Scott                                                             5-28-13
Attorney’s Signature                                                           Date
                               NOTE: Complete All Items on Reverse Side
           CASE 0:10-cr-00187-MJD-FLN Doc. 247 Filed 05/28/13 Page 2 of 2

                                 INFORMATION SHEET
                     TO BE COMPLETED BY ATTORNEY FOR APPELLANT

 1     Defendant’s Address :      ADDRESS REDACTED

                                  ADDRESS REDACTED
 2.     Date of Sentence:      May 16, 2013                         Jury                 Non-Jury
        Offenses:        Material Support of Foreign Terrorist Organization


      Trial Testimony - Number of days              11            Bail Status:     Detained
 3.     Sentence and Date Imposed:           20 years plus life S.R.T., May 16, 2013
 4.     Appealing:          Sentence                 Conviction                  Both     
        Challenging:                        Application of Sentencing Guidelines
                                            Constitutionality of Guidelines

                                            Both Application and Constitutionality
 5.     Date Trial Transcript ordered by Counsel or District            5-28-2013
        Court:
                            Stenographer in Charge :                    Lori Simpson
                             (Name, Address, Phone)                     United States District Court, 15E
                                                                        U.S. Courthouse, 300 S. 4th St.
                                                                        Minneapolis, MN 55415
                                                                        612-664-5104
 6.     Trial Counsel Was:                       Appointed (no fee                    Retained (filing fee $455
                                                  required)                             unless IFP granted)
               Does Defendant’s financial status warrant appointment of counsel on appeal?
                                 Yes                                No
              Affidavit of Financial Status filed:

              Is there any reason why trial counsel should not be appointed as counsel on appeal?

                                      Yes                           No
 7.     Assistant US Attorney Name and Phone Number:                Jeff Paulsen
                                                                    612-664-5600


                                       Court Reporter Acknowledgment


 Date Order Received                       Estimated Completion Date             Est. Number of Pages


 Court Reporter Signature                                                        Date


Noticeofappeal (11/05)
